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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND




 GENBIOPRO, INC.,

                                Plaintiff,

                v.                                     Case No. 23-cv-1057-TDC

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

                                Defendants.



                                   JOINT STATUS REPORT

       The parties respectfully submit this joint status report following the Supreme Court’s

decision in FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024). The parties state as

follows:

       1.       Last year, the Court granted the parties’ joint motion to stay proceedings while the

appellate process played out in Alliance. See Order, ECF No. 31 (Aug. 1, 2023).

       2.       In June 2024, the Supreme Court reversed the Fifth Circuit’s judgment, holding that

the respondents “lack[ed] Article III standing to challenge FDA’s [2016 and 2021] actions”

relating to mifepristone. See Alliance, 602 U.S. at 372, 397. It then remanded the case for further

proceedings consistent with its opinion. Id.

       3.       On July 15, 2024, the Supreme Court issued its judgment. And two days later, the

Fifth Circuit acknowledged receipt of the judgment. See ECF No. 377, No. 23-10362 (5th Cir. July

17, 2024). No further proceedings since then have occurred in the district court. However, while

the Supreme Court proceedings in Alliance were pending, three States filed a motion in the district

court in Alliance to intervene as additional plaintiffs, seeking similar injunctive relief as the
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original Alliance plaintiffs. See ECF No. 151, No. 2:22-cv-223-Z (N.D. Tex. Nov. 3, 2023). The

district court granted that motion to intervene, and the States’ complaint-in-intervention was filed

on the docket. See ECF Nos. 175, 176, No. 2:22-cv-223-Z (N.D. Tex. Jan. 12, 2024).

       4.       In this case, Defendants continue to dispute whether Plaintiff’s suit is proper and

its claims have merit. The parties agree, however, that they would benefit from understanding how

Alliance will proceed. Therefore, in the interest of efficiency and to conserve judicial and party

resources, the parties respectfully suggest that this case continue to be held in abeyance and that

the parties file another joint status report in 90 days to update the Court on the status of Alliance

and a proposed path forward in this case.

Dated: July 29, 2024                          Respectfully submitted,




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ARNOLD & PORTER KAYE SCHOLER LLP          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General
/s/ Samuel I. Ferenc                      ERIC B. BECKENHAUER
Samuel I. Ferenc (D. Md. Bar No. 21395)   Assistant Branch Director
John P. Elwood                            Federal Programs Branch
Daphne O’Connor
Robert J. Katerberg                       /s/ Christopher A. Eiswerth
Kolya D. Glick                            Christopher A. Eiswerth (D.C. Bar No. 1029490)
Angelique A. Ciliberti                    Alexander V. Sverdlov (N.Y. Bar No. 4918793)
ARNOLD & PORTER KAYE SCHOLER LLP          Trial Attorneys
601 Massachusetts Avenue, N.W             United States Department of Justice
Washington, D.C. 20001                    Civil Division, Federal Programs Branch
Tel: (202) 942-5000                       1100 L Street, NW, Rm. 12310
Email: sam.ferenc@arnoldporter.com        Washington, DC 20005
                                          Tel: (202) 305-0568
Julia M. Hatheway                         Email: christopher.a.eiswerth@usdoj.gov
ARNOLD & PORTER KAYE SCHOLER LLP
250 West 55th Street                      Counsel for Defendants
New York, NY 10019

David C. Frederick
Ariela M. Migdal
Eliana Margo Pfeffer
Mary Charlotte Y. Carroll
KELLOGG, HANSEN, TODD,
  FIGEL & FREDERICK, P.L.L.C.
1615 M Street, N.W., Suite 400
Washington, D.C. 20036

Skye L. Perryman
Kristen Miller
DEMOCRACY FORWARD FOUNDATION
P.O. Box 34553
Washington, D.C. 20043

Attorneys for Plaintiff GenBioPro, Inc.




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